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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

----------------------------------------------- x
                                                 :                     MDL Docket No. 1629
In re: NEURONTIN MARKETING,                      :
       SALES PRACTICES AND                       :                     Master File No. 04-10981
       PRODUCTS LIABILITY LITIGATION             :
----------------------------------------------- x                      Judge Patti B. Saris
                                                 :
THIS DOCUMENT RELATES TO:                        :                     Magistrate Judge Leo T.
                                                 :                     Sorokin
Bulger v. Pfizer Inc., et al., 1:07-cv-11426-PBS :
Smith v. Pfizer Inc., et al., 1:05-cv-11515-PBS  :
                                                 :
                                                 :
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   MOTION TO STRIKE THE UNTIMELY SUPPLEMENTAL DECLARATIONS OF
             STEFAN P. KRUSZEWSKI AND RONALD W. MARIS

        Defendants, Pfizer Inc. and Warner-Lambert Company LLC (“defendants”), hereby

respectfully move to strike the declarations of Stefan P. Kruszewski and Ronald W. Maris filed

in support of the responses to defendants’ motions for summary judgment in the Smith and

Bulger cases.

        The grounds for this motion are set forth in the accompanying memorandum of law.

Also submitted in support of this motion is a declaration of Lori McGroder.

        WHEREFORE, defendants respectfully request that the Court strike the declarations of

Drs. Kruszewski and Maris.




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Dated: March 12, 2009                         Respectfully submitted,

                                              DAVIS POLK & WARDWELL

                                              By:     /s/ James P. Rouhandeh
                                                      James P. Rouhandeh

                                              450 Lexington Avenue
                                              New York, NY 10017
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                                                      -and-

                                              SHOOK, HARDY & BACON L.L.P.

                                              By:     /s/ Scott W. Sayler
                                                      Scott W. Sayler

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                                                      -and-

                                              WHITE & WILLIAMS

                                              By:     /s/ David B. Chaffin
                                                      David B. Chaffin

                                              100 Summer Street, 27th Floor
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                                              Attorneys for Defendants Pfizer Inc. and
                                              Warner-Lambert Company LLC

                            CERTIFICATE OF CONSULTATION

       I certify that counsel have conferred in a good faith effort to resolve the issue raised by
this motion but were unable to do so.


                                                      /s/David B. Chaffin_________________
                                                      David B. Chaffin




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                            CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 12, 2009.


                                              /s/David B. Chaffin_________________
                                              David B. Chaffin




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